Case 2:20-cv-09678-JAK-SK Document 14 Filed 01/08/21 Page 1 of 1 Page ID #:466


  1

  2

  3

  4

  5

  6

  7
                            UNITED STATES DISTRICT COURT
  8                       CENTRAL DISTRICT OF CALIFORNIA
  9

 10
      STUART L. GILI-ROSS,                          Case No. 2:20-cv-09678-JAK-SK
 11
                          Plaintiff,                ORDER RE JOINT STIPULATION
 12                                                 TO REMAND CASE TO STATE
            v.                                      COURT (DKT. 13)
 13
      UNITED FINANCIAL CASUALTY                     JS-6: Remanded
 14   COMPANY,

 15                       Defendant.

 16         Based on a review of the parties’ Joint Stipulation to Remand Case to State
 17   Court, there is good cause for the requested relief. Therefore, the relief requested in
 18   the Stipulation is GRANTED and the action remanded to the Los Angeles Superior
 19   Court at its Stanley Mosk Courthouse (Case No. 19STCV35477).
 20         IT IS SO ORDERED.
 21

 22   DATED: January 8, 2021                        John A. Kronstadt
                                                    United States District Judge
 23

 24

 25

 26

 27

 28
